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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA



SHAWN JONES                        :                  CIVIL ACTION
                                   :
              v.                   :
                                   :
LANKENAU HOSPITAL, et al.          :                  NO. 15-3882


                            CIVIL JUDGMENT

Before the Honorable Joel H. Slomsky

          AND NOW, this    30th   day of    January    2017, in

accordance with the Verdict of the Jury,



          IT IS ORDERED that Judgment be and the same is hereby

entered in favor of the defendants Main Line Hospitals d/b/a as

Lankenau Hospital; Joan Keegan, DO; Arlene Smalls, MD and Adeeb

Khalifeh, MD and against the Plaintiff Shawn Jones. .




                                   BY THE COURT

                                       ATTEST:S/ Matthew J. Higgins
                                               Matthew J. Higgins
                                               Deputy Clerk
